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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-03349-PAB-NYW

   ROBERT A. PFAFF

           Plaintiff,

   v.

   UNITED STATES OF AMERICA

           Defendant.

   ______________________________________________________________________________

        (proposed) ORDER GRANTING JOINT UNOPPOSED MOTION TO STAY DISCOVEY
             AND TRIAL DEADLINES PENDING DECISION ON MOTION TO DISMISS

           Upon consideration of the parties’ Joint Unopposed Motion to Stay Discovery and Trial

   Deadlines Pending Decision on Motion to Dismiss, and good cause having been shown, it is

   hereby ORDERED that said motion is GRANTED. Discovery is STAYED pending the Court’s

   Decision on the Motion to Dismiss. Additionally, the Scheduling Order (Dkt. # 24) and the dates

   therein are STRICKEN.


   DATED this __________ day of October, 2015


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